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                                                           Main Document    Page 1 of 2


                      1 Leonard M. Shulman - Bar No. 126349
                        Rika M. Kido - Bar No. 273780
                      2 SHULMAN HODGES & BASTIAN LLP
                        100 Spectrum Center Drive, Suite 600                                    FILED & ENTERED
                      3 Irvine, California 92618
                        Telephone:      (949) 340-3400
                      4 Facsimile:      (949) 340-3000                                                 JAN 29 2018
                        Email: lshulman@shbllp.com;
                      5         rkido@shbllp.com                                                  CLERK U.S. BANKRUPTCY COURT
                                                                                                  Central District of California
                                                                                                  BY gooch      DEPUTY CLERK
                      6 Proposed Attorneys for Lynda T. Bui,
                        Chapter 7 Trustee
                      7

                      8                                      UNITED STATES BANKRUPTCY COURT

                      9                                        CENTRAL DISTRICT OF CALIFORNIA

                   10                                                     RIVERSIDE DIVISION

                   11

                   12 In re:                                                          Case No. 6:16-bk-16877-WJ

                   13 RUSSEL DENNIS HILES, III,                                       CHAPTER 7

                   14                                                Debtor.          ORDER AUTHORIZING THE TRUSTEE
                                                                                      TO EMPLOY SHULMAN HODGES &
                   15                                                                 BASTIAN LLP AS GENERAL COUNSEL
                   16

                   17                Lynda T. Bui (“Trustee”), the chapter 7 trustee for the bankruptcy estate of Russel Dennis
                   18 Hiles, III, filed an application entitled “Chapter 7 Trustee’s Application to Employ Shulman
                   19 Hodges & Bastian LLP as General Counsel; Declaration of Leonard M. Shulman in Support

                   20 Thereof” on January 8, 2018 as docket number 295. No opposition having been filed and good

                   21 cause appearing, the Court hereby ORDERS as follows:

                   22                1.        The Trustee is authorized employ the firm of Shulman Hodges & Bastian LLP
                   23 (“Firm”) as her general counsel effective as of December 21, 2017.

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 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618                                                              1
                            5401-000\62\ Employ Order SHB TC Hiles
                Case 6:16-bk-16877-WJ                    Doc 296 Filed 01/29/18 Entered 01/29/18 17:04:59      Desc
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                      1              2.        All compensation to the Firm is subject to approval by the Court, and no

                      2 compensation shall be paid unless and until (a) the Firm files and serves an appropriate application

                      3 in conformity with 11 U.S.C. §§ 330 and 331 and (b) the Court enters an order approving allowed

                      4 fees and costs.

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                   26 Date: January 29, 2018
                   27

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 SHULMAN HODGES &
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    Irvine, CA 92618                                                         2
                            5401-000\62\ Employ Order SHB TC Hiles
